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11                         UNITED STATES DISTRICT COURT
12                       SOUTHERN DISTRICT OF CALIFORNIA
13
                                                   Civil Case No.    '25CV879 JO DDL
14 SAN DIEGO COASTKEEPER, a non-profit
   corporation; COASTAL                            COMPLAINT FOR
15 ENVIRONMENTAL RIGHTS                            DECLARATORY AND
                                                   INJUNCTIVE RELIEF AND CIVIL
16 FOUNDATION,                                     PENALTIES
   a non-profit corporation,
17
                    Plaintiffs,                    (Federal Water Pollution Control Act,
18                                                  33 U.S.C. § 1251 et seq.)
         v.
19
                                                   (Unfair Competition Law – Unlawful
20 WEST COAST IRON, a California                   Conduct under Cal. Bus. & Prof.
   Corporation;
21                                                 Code § 17200 et seq.)
22                   Defendant.
23
24
25
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27
28

         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND CIVIL PENALTIES
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 1          Coastal Environmental Rights Foundation, (“CERF”) and San Diego Coastkeeper
 2 (“Coastkeeper”) (collectively “Plaintiffs”), by and through their counsel, hereby allege:
 3     I.        JURISDICTION AND VENUE
 4          1.     This is a civil suit brought under the citizen suit enforcement provision of
 5 the Federal Water Pollution Control Act, 33 U.S.C. §§ 1251 et seq. (“Clean Water Act”
 6 or “CWA”). See 33 U.S.C. § 1365. This Court has subject matter jurisdiction over the
 7 parties and this action pursuant to 33 U.S.C. § 1365(a)(1) and 28 U.S.C. §§ 1331 and
 8 2201.
 9          2.     On January 9, 2025, Plaintiffs issued a 60-day notice letter (“Notice Letter”)
10 to West Coast Iron, Inc. (“Defendant” or “WCI”) as the owner and/or operator of the
11 Facility located at 9302 Jamacha Road, Spring Valley, California 91977 (“Facility”),
12 regarding its violations of the Clean Water Act and California’s General Permit for
13 Discharges of Storm Water Associated with Industrial Activities (National Pollution
14 Discharge Elimination System (“NPDES”) General Permit No. CAS000001, Water
15 Quality Order No. 92-12-DWQ, as amended by Order No. 97-03-DWQ, as amended by
16 Order No. 2014-0057-DWQ), and Order 2014-0057-DWQ as amended in 2015 and 2018
17 (“IGP,” “Permit,” or “ Industrial General Permit”). True and correct copies of the Notice
18 Letter and all enclosures are attached hereto as Exhibit 1 and incorporated herein.
19          3.     Plaintiffs mailed the Notice Letter to the Facility’s physical address, 9302
20 Jamacha Road, Spring Valley, California 91977, and to Defendant’s Agent for Service of
21 Process at the same address via certified mail.
22          4.     Plaintiffs also mailed the Notice Letter to the Administrator of the United
23 States Environmental Protection Agency (“EPA”), the Administrator of EPA Region IX,
24 the Executive Director of the California State Water Resources Control Board (“State
25 Board”), and the Executive Officer of the San Diego Regional Water Quality Control
26 Board (“Regional Board”) as required by 40 C.F.R. § 135.2(a)(1) and 33 U.S.C. §
27 1365(b)(1)(A).
28          5.     More than sixty (60) days have passed since the Notice Letter was served on
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 1 Defendant and the State and Federal agencies. Plaintiffs are informed and believe, and
 2 thereon allege, that neither the EPA nor the State of California has commenced or is
 3 diligently prosecuting an action to redress the violations alleged in the Notice Letter and
 4 in this Complaint. See 33 U.S.C. § 1365(b)(1)(B). This action is not barred by any prior
 5 administrative penalty under Section 309(g) of the CWA. 33 U.S.C. § 1319(g).
 6           6.     This Court has supplemental jurisdiction over the state law claims alleged
 7 herein pursuant to 28 U.S.C. § 1367(a), because the state law claims are related to the
 8 federal claims and form part of the same case or controversy.
 9           7.     Venue is proper in the Southern District of California pursuant to 33 U.S.C.
10 § 1365(c)(1) because the source of the violations is located within this judicial district.
11     II.         INTRODUCTION
12           8.     Plaintiffs seek relief for Defendant’s substantive and procedural violations
13 of the IGP and the CWA resulting from its activities at the Facility.
14           9.     Specifically, Defendant has discharged and continues to discharge polluted
15 storm water from the Facility to downstream waters and groundwater including Spring
16 Valley Creek, the Sweetwater River, the San Diego Bay, and the Pacific Ocean
17 (collectively “Receiving Waters”) in violation of the express terms and conditions of the
18 Clean Water Act, 33 U.S.C. §§ 1301, 1342.
19           10.    Defendant has also violated and continues to violate the filing, monitoring,
20 reporting, discharge, and management practice requirements, and other procedural and
21 substantive requirements of the IGP. These are ongoing and continuous violations of the
22 CWA and the IGP.
23           11.    With every rainfall event, hundreds of millions of gallons of polluted
24 rainwater, originating from industrial facilities like the Facility flow into storm drain
25 systems, local tributaries, and the Receiving Waters.
26           12.    Among the Receiving Waters are ecologically sensitive areas providing
27 essential habitat for dozens of fish, hundreds of birds and numerous mammal species, as
28 well as vital macro- and micro-invertebrate species which are an important link in the
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 1 food web between the producers (leaves, algae) and higher consumers such as fish.
 2            13.     This discharge of polluted storm water and non-storm water from the
 3 Facility causes and/or contributes to the impairment of downstream Receiving Waters
 4 and compromises or destroys their Beneficial Uses.
 5            14.     Storm water and non-storm water contaminated with sediment, heavy
 6 metals, nutrients, and other pollutants harm the special biological significance of the
 7 Receiving Waters. Discharges of polluted storm water and non-storm water to the
 8 Receiving Waters pose toxic, carcinogenic, and reproductive threats to the public and
 9 adversely affect the aquatic environment.
10            15.     The polluted discharges from the Facility also harm the special aesthetic and
11 recreational significance that the Receiving Waters have for people in the surrounding
12 communities, including Plaintiffs’ members. The public’s, including Coastkeeper’s and
13 CERF’s members’, use of the Receiving Waters for water contact recreation exposes
14 people to toxic metals, carcinogenic chemicals, and other contaminants resulting from
15 storm water and non-storm water discharges. Non-contact recreational and aesthetic
16 opportunities, such as wildlife observation and aesthetic enjoyment, are also impaired by
17 polluted discharges, as such discharges cause or contribute to ecosystem and food web
18 degradation.
19     III.         PARTIES
20            16.     West Coast Iron, Inc. is an active California Corporation and is the Owner
21 and/or Operator of the Facility.
22            17.     Coastkeeper is a non-profit public benefit corporation organized under the
23 laws of the State of California with its main office in San Diego, California. Coastkeeper
24 is committed to protecting and restoring the San Diego region’s water quality and supply.
25 A member of the international Waterkeeper Alliance, San Diego Coastkeeper’s main
26 purpose is to preserve, enhance, and protect San Diego's marine sanctuaries, coastal
27 estuaries, wetlands, and bays from illegal dumping, hazardous spills, toxic discharges,
28 and habitat degradation.
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 1         18.    Plaintiff CERF is a non-profit public benefit corporation organized under the
 2 laws of the State of California with its office located in Encinitas, California. CERF was
 3 founded by surfers in North San Diego County and is active throughout California’s
 4 coastal communities. CERF was established to advocate for the protection and
 5 enhancement of coastal natural resources and the quality of life for coastal residents. One
 6 of CERF’s primary areas of advocacy is water quality protection and enhancement.
 7         19.    Plaintiffs bring this action on their own behalf and on behalf of their
 8 adversely affected members. Plaintiffs’ members (including citizens, taxpayers, property
 9 owners, and residents) live, work, travel, recreate, own property and homes, and reside in
10 San Diego County. Plaintiffs’ members use and enjoy the Receiving Waters for
11 recreational, aesthetic, restoration, conservation, educational, scientific, professional, and
12 other purposes.
13         20.    Plaintiffs and their members use and enjoy the Receiving Waters as well as
14 the riparian, wetland, and beach areas adjacent to the waters for recreation and aesthetic
15 activities like viewing wildlife. Plaintiffs and their members also engage in cleanup,
16 restoration, and conservation activities in these waters as well as in the riparian, wetland,
17 and beach areas adjacent to the waters. Additionally, the Plaintiffs and their members use
18 these waters and adjacent riparian areas to engage in scientific study through pollution
19 and habitat monitoring. They devote themselves to the study, protection, education, and
20 conservation of the ecosystems, including species and wildlife and their habitats, that are
21 impacted by the health of the waters into which Defendant’s Facilities discharge polluted
22 storm water.
23         21.    Given the ecological importance and aesthetic and recreational significance
24 of the Receiving Waters, Plaintiffs’ members use and enjoy these waters and surrounding
25 ecosystems and wetlands for numerous activities. They frequently use various areas
26 downstream from the Facility for hiking, biking, enjoyment of natural open spaces,
27 general aesthetic enjoyment, bird watching, and observation of other fauna including
28 butterflies, and various fish, reptiles, and mammals. Plaintiffs and their members have
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 1 conducted restoration and conservation activities including cleanups, invasive species
 2 removal, and native species planting, in multiple downstream locations. Plaintiffs and
 3 their members regularly lead ecological and educational tours in Receiving Waters and
 4 surrounding waters, wetlands, and riparian areas, including birdwatching tours and
 5 kayaking tours, educating members of the public about various flora, fauna, and
 6 ecosystems. Plaintiffs and their members also use these waters to engage in scientific
 7 study through pollution and habitat monitoring, including water quality sampling and
 8 assessment. Plaintiffs and their members plan to continue all of the aforementioned
 9 activities.
10         22.    The discharge of storm water with elevated levels of pollutants from Facility
11 reduces Plaintiffs’ and Plaintiffs’ members’ use and enjoyment of those waters and the
12 bays, beaches, and surrounding ecosystems and waters into which they flow. Defendant’s
13 discharges diminish Plaintiffs’ and Plaintiffs’ members’ ability to use and enjoy these
14 downstream waters and surrounding ecosystems for recreational, aesthetic, restoration,
15 conservation, educational, professional, and scientific pursuits. Plaintiffs and their
16 members are aware of the pollution concerns discussed herein, and based on these
17 concerns avoid or limit touching, swimming, fishing, and engaging in other activities
18 Receiving Waters when they would otherwise like to. The discharge of pollutants
19 including toxic pollutants in storm water from the Facility harms aquatic life and species
20 that live in the surrounding riparian habitat that Plaintiffs and Plaintiffs’ members
21 observe, study, consume, and contemplate spiritually.
22         23.    The Facility’s polluted discharges also degrade the surrounding riparian
23 ecosystems and habitats that Plaintiffs and Plaintiffs’ members work to protect and enjoy.
24 Plaintiffs and their members have a vested interest in protecting and enjoying healthy
25 ecosystems and thriving natural flora and fauna populations. Defendant’s pollutant-laden
26 storm water and non-storm water discharges thus diminish Plaintiffs’ and Plaintiffs’
27 members’ use and enjoyment of the Receiving Waters. Plaintiffs’ and Plaintiffs’
28 members’ reduced use and enjoyment of the Receiving Waters and impacted ecosystems
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 1 is directly traceable to Defendant’s storm water discharges containing elevated levels of
 2 pollutants and unpermitted non-stormwater discharges.
 3         24.    Accordingly, the legal violations alleged in this Complaint therefore cause
 4 direct injury to the recreational, aesthetic, restoration, conservation, educational,
 5 professional, and scientific interests of the Plaintiffs and Plaintiffs’ members. Plaintiffs’
 6 and Plaintiffs’ members’ recreational, aesthetic, restoration, conservation, educational,
 7 professional, and scientific injuries are concrete and particular to Plaintiffs and each of
 8 their members who are adversely affected. Plaintiffs’ and Plaintiffs’ members’
 9 recreational, aesthetic, restoration, conservation, educational, professional, and scientific
10 interests have been, are being, and, unless the relief prayed for in this Complaint is
11 granted, will continue to be adversely and irreparably injured by the Defendant’s failure
12 to comply with the CWA. On information and belief, Defendant’s discharges of storm
13 water with elevated levels of pollutants are ongoing and will continue because Defendant
14 has not corrected the poor practices that led to these pollutant-laden discharges and non-
15 storm water discharges. These are actual, concrete injuries, traceable to Defendant’s
16 conduct, that would be redressed by the requested relief. If Plaintiffs are successful in this
17 action, the Defendant will be required to bring their discharges from the Facility to waters
18 of the United States into compliance with the CWA and thus reduce their discharges of
19 pollutants to the affected receiving waters, and either eliminate or seek permit coverage
20 for their non-storm water discharges. This would benefit Plaintiffs and Plaintiffs’
21 members in reducing the identified harms that they currently suffer as a result of the
22 Defendant’s pollutant-laden storm water discharges and unpermitted non-stormwater
23 discharges from the Facility.
24         25.    Plaintiffs have many members whose use and enjoyment of the Receiving
25 Waters has been and continues to be harmed by Defendant’s polluted discharges. Two
26 such individuals are Laura Fuller and Rio Caramello-Uyeji.
27         26.    Rio Caramello-Uyeji is a member of Coastkeeper and its Operations
28 Manager and started working for Coastkeeper in September 2023. She regularly walks,
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 1 hikes, bikes, and enjoys views and wildlife and native plants in and around the Receiving
 2 Water downstream from the Facility. She has engaged in these activities in multiple areas
 3 including the network of trails along near the mouth of the Sweetwater River, the San
 4 Diego Bay National Wildlife Refuge, the Living Coast Discovery Center, Chula Vista
 5 Bayside Park, and the bikeway along the Sweetwater River between San Diego Bay and
 6 the Plaza Bonita mall. She began regularly recreating in these areas in about 2018 and
 7 currently uses and enjoys these areas almost every week. She participated in the Bike the
 8 Bay event each year it has run since 2019. She participated in the biking and running
 9 segments of the Chula Vista Triathlon, but did not partake in the swim segment, due in
10 part to her concerns about water quality and pollution in South San Diego Bay. Ms.
11 Caramello-Uyeji is aware of, and concerned about, the many pollutant impairments and
12 pollution burdens in the Sweetwater River and San Diego Bay. She is also aware of the
13 Facility’s pollutant discharges, which contribute to this pollution burden. At times she
14 can smell odors from the waters, and she is concerned about the health of the wildlife,
15 habitat, and ecology in these areas, all of which negatively impact her use and enjoyment.
16 She also avoids contact water recreation such as kayaking due to these same concerns.
17         27.   Laura Fuller, a Coastkeeper member and Coastkeeper’s Community Science
18 Director, started working for Coastkeeper in May 2024. As part of her work for
19 Coastkeeper, she regularly collects water quality samples at multiple locations across the
20 region, including at the mouth of the Sweetwater River, directly in front of Pepper Park.
21 These samples have shown high levels of copper and phosphorus, two of the many
22 pollutants which the Facility has discharged at concentrations exceeding legal limits. She
23 will continue to collect samples at this location every other month during 2025. In her
24 previous employment as a research associate at the University of California, Davis
25 Department of Environmental Toxicology, she spent eight field seasons collecting an
26 annual sediment sample in the Sweetwater River, at the intersection of the river and
27 Willow Street. These samples would be analyzed for toxicity parameters including heavy
28 metals such as those discharged by the Facility. She enjoys viewing the National Wildlife
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 1 Refuge, and cares about the health of the Refuge and its resident flora and fauna. Ms.
 2 Fuller is aware of, and concerned about, the many pollutant impairments and pollution
 3 burdens in the Sweetwater River and San Diego Bay. In light of her education and
 4 experience, she has a deep understanding of the impacts of toxicity pollution, and is
 5 highly concerned about the health of the Sweetwater River and National Wildlife Refuge.
 6 She is also aware of the Facility’s pollutant discharges, which contribute to this pollution
 7 burden. She wears personal protective equipment when sampling and avoids contact with
 8 this water she knows to be polluted. She would like to engage in contact recreation at the
 9 mouth of the Sweetwater River but avoids such activities due to her concerns about
10 pollutant levels.
11         28.    Sara Ochoa is a member of CERF and serves as its Programs Director. She
12 lives in Chula Vista and regularly recreates near Sweetwater River. Ms. Ochoa routinely
13 takes her child to Rohr Park, adjacent to Sweetwater River and downstream of the
14 Facility and its discharges. She has a deep appreciation for the birds, fish, and wildlife
15 that depend on Sweetwater River and enjoys watching its resident flora and fauna. Ms.
16 Ochoa would like to engage in greater contact recreation in and around Sweetwater River
17 but avoids such activities due to her concerns about pollutant levels. She also discourages
18 her minor child from engaging in such activities because of such concerns.
19         29.    Plaintiffs and Plaintiffs’ members have an interest in accurate information
20 about Defendant’s discharges. Defendant’s failure to accurately report and monitor
21 impedes Plaintiffs’ abilities to carry out their missions, and Plaintiffs’ members’ ability to
22 fully use and enjoy the Receiving Waters for aesthetic, recreational, scientific,
23 educational, and spiritual purposes.
24         30.    Defendant’s storm water pollution frustrates Plaintiffs’ mission. Plaintiffs
25 have diverted their limited resources to investigate, research, gather documents from
26 regulatory agencies, and consult with experts in order to understand the extent of the harm
27 Defendant’s ongoing pollution causes in and around the Receiving Waters. Plaintiffs have
28 dedicated substantial resources and time into its works and investigation regarding
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 1 Defendant’s storm water pollution. At the time Plaintiffs undertook their investigation into
 2 the Facility, the resources spent were not related to any litigation. Plaintiffs would have
 3 used its limited resources on other matters had it not been for Defendant’s conduct.
 4           31.    Defendant’s failure to comply with the procedural and substantive
 5 requirements of the IGP and the CWA results in discharges of polluted storm water to the
 6 Receiving Waters. Defendant’s polluted discharges degrade water quality and harm
 7 aquatic life in the Receiving Waters and thus impair Plaintiffs’ members’ use and
 8 enjoyment of those waters.
 9           32.    The violations of the IGP and CWA at the Facility are ongoing and
10 continuous. Thus, the interests of Plaintiffs’ members have been and will continue to be
11 adversely affected by Defendant’s failure to comply with the IGP and the CWA.
12           33.    The relief sought herein will redress the harms to Plaintiffs’ members caused
13 by Defendant’s activities. Continuing commission of the acts and omissions alleged herein
14 will irreparably harm Plaintiffs’ members, for which they have no other plain, speedy, or
15 adequate remedy at law.
16           34.    An actual controversy exists as to the rights and other legal relations
17 between Defendant and Plaintiffs.
18     IV.         LEGAL BACKGROUND
19           A.     The Clean Water Act.
20           35.    The CWA requires point source discharges of pollutants to navigable waters
21 be regulated by an NPDES permit. 33 U.S.C. § 1311(a); 40 C.F.R. § 122.26(c)(1).
22           36.    Section 301(a) of the Clean Water Act prohibits the discharge of any
23 pollutant into waters of the United States unless the discharge complies with the CWA.
24 Among other things, Section 301(a) prohibits discharges not authorized by, or in
25 violation of, the terms of an NPDES permit issued pursuant to Section 402 of the CWA.
26           37.    The “discharge of a pollutant” means, among other things, “any addition of
27 any pollutant to navigable waters from any point source.” 33 U.S.C. § 1362(12).
28           38.    “Waters of the United States” are defined as “navigable waters” and “all
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 1 waters which are currently used, were used in the past, or may be susceptible to use in
 2 interstate or foreign commerce, including waters which are subject to the ebb and flow of
 3 the tide.” 33 U.S.C. § 1362(7); 40 C.F.R. § 122.2.
 4         39.    The EPA interprets waters of the United States to include not only
 5 traditionally navigable waters, but also other waters, including waters tributary to
 6 navigable waters, wetlands adjacent to navigable waters, and intermittent streams that
 7 could affect interstate commerce. See 40 C.F.R. § 122.2; 80 F.R. § 37054.
 8         40.    The CWA confers jurisdiction over waters that are tributaries to traditionally
 9 navigable waters where the water at issue has a significant nexus to the navigable water.
10         41.    The CWA requires all point source dischargers, including those discharging
11 polluted storm water, achieve technology-based effluent limitations by utilizing the Best
12 Available Technology Economically Achievable (“BAT”) for toxic and nonconventional
13 pollutants and the Best Conventional Pollutant Control Technology (“BCT”) for
14 conventional pollutants. 33 U.S.C. § 1311(b); 40 C.F.R. §125.3(a)(2)(ii)(iii).
15         42.    Private citizens may sue under the Clean Water Act to enforce the specific
16 provisions of California's Industrial General Permit. 33 U.S.C. § 1365(a)(1), (f)(6);
17 Russian River Watershed Prot. Comm. v. City of Santa Rosa, 142 F.3d 1136, 1139 (9th
18 Cir.1998).
19         B.     California’s IGP.
20         43.    Section 402(p) of the Clean Water Act establishes a framework for
21 regulating industrial storm water discharges under the NPDES permit program. It allows
22 each state to administer its own EPA-approved NPDES permit program for regulating the
23 discharge of pollutants, including discharges of polluted storm water.
24         44.    California is a state authorized by the EPA to issue NPDES permits. In
25 California, the State Board is charged with regulating pollutants to protect California’s
26 water resources. Cal. Water Code § 13001.
27         45.    The IGP is a statewide general NPDES permit issued by the State Board
28 pursuant to Section 402 that regulates the discharge of pollutants from industrial sites.
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 1         46.     Between 1997 and June 30, 2015, the IGP in effect was Order No. 97-03-
 2 DWQ (“1997 Permit”). On July 1, 2015, pursuant to Order No. 2014-0057-DWQ (“2015
 3 Permit”), the reissued 2015 IGP took effect. The 2015 Permit supersedes the 1997
 4 Permit, except for enforcement purposes, and its terms are as stringent, or more stringent,
 5 than the terms of the 1997 Permit. On July 1, 2020, pursuant to Order 2014-0057-DWQ
 6 as amended in 2015 and 2018 (“2020 Permit”), the reissued 2020 IGP took effect.
 7         47.     In order to discharge storm water lawfully in California, certain industrial
 8 dischargers must secure coverage under the IGP and comply with its terms or obtain and
 9 comply with an individual NPDES permit. 2015 & 2020 Permits § I.A.12. Prior to
10 beginning industrial operations, dischargers are required to apply for coverage under the
11 IGP by submitting a Notice of Intent to Comply with the IGP (“NOI”) to the State Board.
12 Id. § I.A.17.
13         48.     Industrial activities covered under the IGP are described in Attachment A of
14 the Permit. Facilities with SIC code 3449 require coverage by the Permit. Id., Attachment
15 A.
16         49.     Violations of the IGP are violations of the Clean Water Act. Id. § XXI.A.
17         C.      The IGP Discharge Prohibitions.
18         50.     The IGP contains certain absolute prohibitions. “All discharges of storm
19 water to waters of the United States are prohibited except as specifically authorized by
20 this [Industrial] General Permit or another NPDES permit.” Id. § III.A.
21         51.     The Discharge Prohibitions forbid the direct or indirect discharge of liquids
22 or materials other than storm water (“non-storm water discharges” or “NSWDs”), which
23 are not otherwise authorized by an NPDES permit, to the waters of the United States. Id.
24 § III.B.
25         52.     These provisions further prohibit storm water discharges and authorized
26 non-storm water discharges which cause or threaten to cause pollution, contamination, or
27 nuisance. Id. § III.C.
28         53.     The IGP prohibits discharges that violate any discharge prohibitions
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 1 contained in local Water Quality Control Plans (“Basin Plan”) or statewide water quality
 2 control plans and policies. Id. § III.D.
 3         54.   The San Diego Basin Plan prohibits “the discharge of waste to inland
 4 surface waters, except in cases where the quality of the discharge complies with the
 5 applicable receiving water quality objectives.” Basin Plan at 4-20.
 6         55.   Accordingly, where the discharge does not meet water quality objectives, the
 7 discharge, absent an express “allowance for dilution” by the Regional Board, is
 8 prohibited by Discharge Prohibition III.D of the 2015 and 2020 Permits.
 9         D.    The IGP Effluent Limitations.
10         56.   The IGP Effluent Limitation requires permittees to reduce or prevent
11 pollutants associated with industrial activity in storm water discharges and authorized
12 non-storm water discharges through the implementation of BAT and BCT. 2015 & 2020
13 Permits § V.A.
14         57.   Toxic pollutants are listed at 40 C.F.R. § 401.15 and include copper, lead,
15 and zinc, among others. Conventional pollutants are listed at 40 C.F.R. § 401.16 and
16 include chemical oxygen demand (“COD”), total suspended solids (“TSS”), oil and
17 grease (“O&G”), pH, nitrate + nitrite nitrogen (“N+N”), iron, phosphorus, enterococcus,
18 and fecal coliform, among others.
19         58.   Dischargers must develop and implement Best Management Practices
20 (“BMPs”) that constitute BAT and BCT to reduce or eliminate storm water pollution. 33
21 U.S.C. § 1311(b); 2015 & 2020 Permits § V.A.
22         59.   EPA’s NPDES Storm Water Multi-Sector General Permit for Industrial
23 Activities (“MSGP”) includes numeric benchmarks for pollutant concentrations in storm
24 water discharges (“EPA Benchmarks”). The 2015 MSGP went into effect on June 4,
25 2015, and the 2021 MSGP went into effect on March 1, 2021. The Benchmarks provide a
26 relevant and objective standard to determine whether a facility’s BMPs are effectively
27 developed and implemented to achieve compliance with BAT/BCT standards. See 2015
28 and 2021 MSGPs, 80 Fed. Reg. 34,403, 34,405 (June 16, 2015); 86 Fed. Reg. 10,269; see
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 1 also 2015 MSGP Fact Sheet at 52; 2021 MSGP Fact Sheet at 78.
 2         60.    Discharges from an industrial facility containing pollutant concentrations
 3 that exceed EPA Benchmarks indicate the facility has not developed and/or implemented
 4 BMPs that meet BAT for toxic pollutants and BCT for conventional pollutants. Santa
 5 Monica Baykeeper v. Kramer Metals, Inc., 619 F. Supp. 2d 914 (C.D. Cal. 2009).
 6         61.    Failure to develop or implement BMPs that constitute BAT and BCT is an
 7 IGP violation. 33 U.S.C. § 1311(b); 2015 & 2020 Permits § V.A.
 8         E.     The IGP Receiving Water Limitations
 9         62.    The IGP Receiving Water Limitation prohibits storm water discharges and
10 authorized non-storm water discharges from adversely impacting human health or the
11 environment. 2015 & 2020 Permits § VI.B.
12         63.    Storm water discharges with pollutant levels that exceed levels known to
13 adversely impact aquatic species and the environment are violations of the IGP’s
14 Receiving Water Limitations. Id.
15         64.    The IGP Receiving Water Limitation prohibits storm water discharges that
16 cause or contribute to an exceedance of any applicable water quality standard contained
17 in a Statewide Water Quality Control Plan or the applicable Regional Board’s Basin Plan.
18 Id. § VI.A.
19         65.    Water quality standards (“WQSs”) consist of both “designated uses” for a
20 body of water and a set of “criteria” specifying the maximum concentration of pollutants
21 that may be present in the water without impairing its suitability for designated uses. 33
22 U.S.C. § 1313(c)(2)(A).
23         66.    WQSs applicable to dischargers covered by the IGP include, but are not
24 limited to, those set out in the Basin Plan, and in the Criteria for Priority Toxic Pollutants
25 for the State of California (“CTR”), 40 C.F.R. § 131.38. Both the CTR and Basin Plan
26 WQSs must be attained at the point of discharge.
27         67.    The Basin Plan identifies designated “Beneficial Uses” for water bodies in
28 the San Diego region under Clean Water Act Section 303. 40 C.F.R. § 131.
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 1         68.    The Beneficial Uses for the Spring Valley Creek and the Sweetwater River
 2 include municipal and domestic supply; industrial services supply; contact water
 3 recreation; non-contact recreation; warm-freshwater habitat; and wildlife habitat. Basin
 4 Plan, Table 2-2.
 5         69.    The Beneficial Uses for the San Diego Bay include industrial service supply;
 6 navigation; contact water recreation; non-contact water recreation; commercial and sport
 7 fishing; wildlife habitat; preservation of biological habitats of special significance;
 8 marine habitat; estuarine habitat; migration of aquatic organisms; spawning,
 9 reproduction, and/or early development; shellfish harvesting; and rare, threatened, or
10 endangered species. Id.
11         70.    The Beneficial Uses for the Pacific Ocean include industrial service supply;
12 navigation; contact and non-contact recreation; commercial and sports fishing;
13 preservation of biological habitats of special significance; wildlife habitat; rare,
14 threatened, or endangered species; marine habitat; aquaculture; migration of aquatic
15 organisms; spawning, reproduction, and/or early development; and shellfish harvesting.
16 Id., Table 2-3.
17         71.    Surface waters that cannot support their Beneficial Uses are designated
18 “impaired” water bodies pursuant to Section 303(d) of the Clean Water Act.
19         72.    According to the current 303(d) List of Impaired Water Bodies, Sweetwater
20 River is impaired for benthic community effects, bifenthrin, chlorpyrifos, indicator
21 bacteria, nitrogen, dissolved oxygen, phosphorus, pyrethroids, total dissolved solids, and
22 toxicity. The Pacific Ocean shoreline near the San Diego Bay is impaired for indicator
23 bacteria. California 2024 Integrated Report.
24         73.    Polluted discharges from industrial facilities, such as the Facility, contribute
25 to the degradation of these already-impaired surface waters, as well as aquatic-dependent
26 wildlife.
27         74.    The following WQSs are established by the Basin Plan for the Spring Valley
28 Creek downstream of the Facility: iron, 0.3 mg/L and pH “shall not be depressed below
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 1 6.5 or raised above 8.5” in inland surface waters. Basin Plan at 3-21.
 2         75.    Because the IGP Receiving Water Limitation prohibits discharges that cause
 3 or contribute to an exceedance of any applicable WQSs, discharges with pollutant levels
 4 in excess of the CTR criteria, the Basin Plan standards, and/or other applicable WQSs,
 5 absent any authorized mixing or dilution zone, are violations of Receiving Water
 6 Limitations of the IGP. See 2015 & 2020 Permits § VI.A.
 7         F.     The IGP Storm Water Pollution Prevention Plan Requirements.
 8         76.    Prior to beginning industrial activities, dischargers must develop and
 9 implement a Storm Water Pollution Prevention Plan (“SWPPP”). Id. §§ X.AB.
10         77.    The objectives of the SWPPP are to identify and evaluate sources of
11 pollutants associated with industrial activities that may affect the quality of storm water
12 discharges, to identify and implement site-specific BMPs to prevent the exposure of
13 pollutants to storm water, and to reduce or prevent the discharge of polluted storm water
14 from industrial facilities. Id. § X.
15         78.    The SWPPP must include, among other things: a narrative description and
16 summary of all industrial activity, potential sources of pollutants, and potential
17 pollutants; a site map indicating the storm water conveyance system, associated points of
18 discharge, direction of flow, areas of actual and potential pollutant contact, including the
19 extent of pollution-generating activities, nearby water bodies, and pollutant control
20 measures; a description of storm water management practices; a description of the BMPs
21 to be implemented to reduce or prevent pollutants in storm water discharges and
22 authorized non-storm water discharges; the identification and elimination of non-storm
23 water discharges; the location where significant materials are being shipped, stored,
24 received, and handled, as well as the typical quantities of such materials and the
25 frequency with which they are handled; a description of dust and particulate-generating
26 activities; a description of individuals and their current responsibilities for developing
27 and implementing the SWPPP, and a Monitoring Implementation Plan. Id. §§ X.AI.
28         79.    Dischargers must evaluate their SWPPP at least annually and revise it as
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 1 necessary to ensure compliance with the IGP. 2015 Permit §§ I.J.55, X.A.9, X.B.1; 2020
 2 Permit §§ I.K.69, X.A.9, X.B.1. The IGP requires dischargers to certify and submit via
 3 the Storm Water Multiple Application & Report Tracking System (“SMARTS”) database
 4 their SWPPP within 30 days whenever the SWPPP contains significant revisions. 2015 &
 5 2020 Permits § X.B.2.
 6         80.   The IGP requires dischargers to conduct an annual comprehensive site
 7 compliance evaluation that includes, inter alia, a review of all visual observation records,
 8 sampling and analysis results, and a review and evaluation of all BMPs. Id. § XV.
 9         G.    The IGP Monitoring and Reporting Requirements.
10         81.   Permittees must develop and implement a monitoring implementation plan
11 (“MIP”). Id. §§ X.I, XI. The MIP objectives are to ensure BMPs have been adequately
12 developed, implemented, and revised, and confirm compliance with the IGP’s Discharge
13 Prohibitions, Effluent Limitations, and Receiving Water Limitations. 2015 Permit §§
14 I.J.5556, X.I, XI; 2020 Permit §§ X.I, X, I.K.6970.
15         82.   The MIP thus aids in the implementation and revision of the SWPPP and
16 measures the effectiveness of BMPs to prevent or reduce pollutants in storm water
17 discharges. 2015 Permit § XX.B; 2015 Permit Fact Sheet § J at 43; 2020 Permit Fact
18 Sheet § J at 138.
19         83.   Permittees must conduct monthly visual observations of storm water
20 discharges, storm water drainage areas, and for the presence of unauthorized non-storm
21 water discharges. 2015 & 2020 Permits § XI.A.1.
22         84.   A qualifying storm event (“QSE”) is a precipitation event that produces a
23 discharge for at least one drainage area and is preceded by forty-eight (48) hours with no
24 discharge from any drainage area. Id. § XI.B.1.
25         85.   The Reporting Year is defined as July 1 through June 30. 2015 Permit §
26 I.M.62.b; 2020 Permit § I.N.76.b. Permittees must collect and analyze storm water
27 samples from two (2) QSEs within the first half of each Reporting Year (July 1 to
28 December 31), and two (2) QSEs within the second half of each Reporting Year (January
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 1 1 to June 30). Id. § XI.B.2.
 2          86.    Permittees must submit all sampling and analytical results for all samples via
 3 the SMARTS database within thirty days of obtaining the results. Id. § XI.B.11.
 4          87.    Permittees must analyze samples for TSS, O&G, and pH, at a minimum. Id.
 5 § XI.B.6.a–b.
 6          88.    Permittees must analyze samples for other pollutants likely to be present in
 7 significant quantities in the storm water discharged from the facility that serve as
 8 indicators of the presence of all industrial pollutants. Id. § XI.B.6.c.
 9          89.    Permittees must analyze storm water samples for all applicable parameters
10 required by the Facility’s SIC code, as set forth in Table 1 of the IGP. Id. § XI.B.6.d.
11          90.    Permittees must analyze storm water samples for additional applicable
12 industrial parameters related to receiving waters with 303(d) listed impairments or
13 approved Total Maximum Daily Loads. Id. § XI.B.6.e.
14          91.    Permittees must submit an annual report to the applicable Regional Board by
15 July 15 of each year. The Annual Report must include a (1) Compliance Checklist that
16 indicates whether a discharger complies with, and has addressed all applicable
17 requirements of the 2015 and 2020 Permits, (2) an explanation for any non-compliance of
18 requirements within the Reporting Year (3) an identification, including page numbers
19 and/or Sections, of all revisions made to the SWPPP within the Reporting Year, and (4)
20 the date(s) of the Annual Evaluation.
21          92.    All reports, certifications, or other information required by the Permit or
22 requested by a regional board are signed by an authorized facility and certified for
23 accuracy. Id. § XXI.K.
24     V.         FACTUAL BACKGROUND
25          A.     Facility Site Information, Industrial Activities, and Pollutant Sources.
26          93.    The SMARTS database indicates Defendant obtained IGP coverage to
27 conduct industrial operations at the Facility on February 3, 2015, under Waste Discharge
28 Identification (“WDID”) Number 9 37I017861.
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 1         94.    The Facility’s Standard Industrial Classification (“SIC”) code is 3449
 2 (Miscellaneous Structural Metal Work), which requires Industrial General Permit
 3 coverage.
 4         95.    According to the Facility’s SWPPP, the Facility is two acres, and two acres
 5 are exposed to storm water. Based on a CERF site inspection, approximately ninety-eight
 6 percent of the Facility is impervious, and thirty-five percent is exposed to storm water.
 7         96.    Per WCI’s website, the Facility conducts the following industrial activities:
 8 full, heavy, and miscellaneous steel fabrication and erection services. The website also
 9 indicates the Facility conducts various metal cutting, mitering, drilling, punching, tooling,
10 sawing, scribing, and other types of steel processing. Although the SWPPP fails to
11 acknowledge the vast majority of these industrial activities, it contains a one-page
12 attached chart that enumerates the following industrial activities: general maintenance
13 and upkeep, outside and inside production areas, oil, paint, and waste storage, and paint
14 application. SWPPP at Attachment WCI Pollutant Source, Type, and BMP Matrix
15 [hereinafter BMP Matrix].
16         97.    The Facility lists the associated pollutants as: motor and waste oil,
17 transmission fluid, coolant, fuel, oil and grease, paint waste and dust, iron, copper, zinc,
18 lead, aluminum, TSS, flammable waste, and wash water. Id.
19         98.    A sample of the Facility discharge obtained by CERF and Coastkeeper on
20 February 1, 2024 shows the Facility discharges high concentrations of metals (1) metals
21 such as iron, zinc, manganese, copper, and aluminum, (2) total suspended solids, (3) pH-
22 affecting substances, and (4) nutrients such as nitrogen and phosphorus in excess of
23 applicable water quality standards and EPA benchmarks promulgated to protect human
24 health and the environment. Ex. 1.
25         99.    Storm water discharges from the Facility enter the County of San Diego
26 municipal separate storm sewer system (“MS4”), and thereafter flow into the Spring
27 Valley Creek, the Sweetwater River, the San Diego Bay, and the Pacific Ocean.
28         100. The WCI property slopes slightly from the east to the west, with the eastern
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 1 neighbor sitting slightly higher in elevation. CERF observed that storm water flows from
 2 north to south through outdoor industrial areas and discharges out the driveway. This
 3 storm water then flows into the County MS4 curb drain inlet adjacent to the western side
 4 of the driveway.
 5         101. Industrial activities occur, and industrial materials are handled, at various
 6 locations throughout the Facility either outdoors without adequate cover to prevent storm
 7 water and non-storm water exposure to pollutant sources, and/or without adequate
 8 secondary containment or other adequate treatment measures to prevent polluted storm
 9 water and non-storm water from discharging from the Facility.
10         102. Many pollutants associated with industrial activities occurring at the Facility
11 regularly escape via spills, dust emissions, wind dispersion, vehicle track out, or
12 otherwise, resulting in pollutant dispersal throughout the Facility.
13         103. Pollutants associated with the Facility’s industrial activities have been and
14 continue to be tracked by vehicles and dispersed via wind throughout the entire site, and
15 on and off the Facility through ingress and egress. This results in trucks and vehicles
16 tracking pollutants off-site, and aerial deposition of pollutants throughout the Facility as
17 well as offsite.
18         104. One or more regulated industrial activities are conducted at locations
19 throughout the entire Facility, and thus the entire Facility requires IGP coverage.
20         105. If regulated industrial activities are not conducted at all locations throughout
21 the entire Facility, BMPs or other controls do not adequately separate the storm water
22 flows from portions of the Facility where non-regulated activities may occur from storm
23 water flows from the regulated industrial activities.
24         106. Due to both the Facility’s lack of BMPs, and inadequacy of existing BMPs,
25 storm water from areas of the Facility where industrial activities are conducted
26 commingles with storm water from other areas of the Facility, and non-storm water
27 commingles with storm water, and thus all discharges from the Facility are regulated
28 under the IGP.
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 1         107. Industrial activities at the Facility generate significant amounts of numerous
 2 pollutants. During rain events, these pollutants are washed off surfaces throughout the
 3 Facility and into storm water discharge points, which flow to Receiving Waters.
 4         108. Defendant has failed and continues to fail to develop and/or implement
 5 required BMPs to prevent discharges of all non-storm water in violation of the IGP and
 6 the Clean Water Act.
 7         109. Defendant has discharged and continues to discharge polluted storm water
 8 and non-storm water from the Facility in violation of the IGP.
 9         110. The Facility’s polluted discharges have caused and/or contributed, and
10 continue to cause and/or contribute, to the impairment of water quality in Receiving
11 Waters in violation of the IGP.
12         111. Elevated levels of numerous pollutants have resulted in the inability of
13 Receiving Waters to support their Beneficial Uses.
14         112. Polluted discharges from industrial facilities, such as the Facility, contribute
15 to the degradation of these already-impaired surface waters, as well as aquatic-dependent
16 wildlife.
17         113. Illegal discharges of polluted storm water and non-storm water from the
18 Facility impact Coastkeeper’s and CERF’s members’ use and enjoyment of the Receiving
19 Waters by degrading the quality of those waters, and by posing risks to human health and
20 aquatic life.
21         B.      The Facility Discharges Contaminated Storm Water in Violation of the
22                 IGP.
23         114. With every significant rain event, the Facility discharges polluted storm
24 water via storm drainage systems into the Receiving Waters.
25         115. The Receiving Waters into which the Defendant discharges polluted storm
26 water are waters of the United States and therefore the IGP properly regulates discharges
27 to those waters.
28         116. Storm water and non-storm water discharges from the Facility violate the
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 1 Discharge Prohibitions and Effluent Limitations of the IGP.
 2                 1. Discharges of Polluted Storm Water from the Facility Violate IGP
 3                   Discharge Prohibitions.
 4          117. The Facility has discharged and continues to discharge numerous pollutants
 5 in concentrations that cause or threaten to cause pollution, contamination, or nuisance in
 6 and around Receiving Waters in violation of IGP. See 2015 & 2020 Permits § III.C.
 7          118. The California Water Code defines “contamination” as “an impairment of
 8 the quality of the waters of the state by waste to a degree which creates a hazard to the
 9 public health through poisoning or through the spread of disease.”
10          119. “Pollution” is defined as “an alteration of the quality of the waters of the
11 state by waste to a degree which unreasonably affects . . . [t]he waters for beneficial
12 uses.”
13          120. The Facility has discharged, and continues to discharge, numerous pollutants
14 in concentrations that cause or threaten to cause pollution, contamination, or nuisance in
15 and around Receiving Waters.
16          121. Storm water monitoring data collected by CERF on February 1, 2024, at the
17 Facility’s driveway, demonstrates the Facility has discharged, and continues to discharge,
18 concentrations of (1) metals such as iron, zinc, manganese, copper, and aluminum, (2)
19 total suspended solids, (3) pH-affecting substances, and (4) nutrients such as nitrogen and
20 phosphorus, in excess of various water quality objectives, benchmarks, and other
21 standards which were promulgated to protect human health and the environment, as well
22 as the Beneficial Uses of Receiving Waters. See Ex. 1. These polluted discharges cause
23 or threaten to cause pollution, contamination, or nuisance in and around Receiving
24 Waters in violation of Discharge Prohibition III.C.
25          122.   The West Coast Iron Pollutant Source, Type, and BMP Matrix (“BMP
26 Matrix”) suggests that water is used to wash equipment and vehicles. However, the
27 SWPPP does not include any BMPs to prevent that water from discharging from the
28 Facility and entering the storm drain. Thus, on information and belief, this water enters
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 1 the storm drain in violation of Discharge Prohibition III.B of the 2015 and 2020 Permits
 2         123. Defendant has violated and continues to violate Discharge Prohibition III.D
 3 of the Permit by discharging pollutants in excess of water quality objectives listed in the
 4 San Diego Basin Plan, and other “statewide water quality control plans” such as the CTR.
 5 Coastkeeper and CERF’s monitoring data of the Facility’s discharge on February 1, 2024
 6 shows concentrations of (1) metals such as iron, zinc, manganese, and copper, (2) pH-
 7 affecting substances, and (3) nutrients such as nitrogen and phosphorus, in excess of its
 8 respective Basin Plan Water Quality Objectives and CTR. See Ex. 1. Thus, the Facility
 9 has discharged and continues to discharge numerous pollutants in concentrations
10 exceeding water quality objectives in violation of Discharge Prohibition III.D.
11         124. Waste Discharge Prohibition number 5 of the San Diego Basin Plan states,
12 “the discharge of waste to inland surface waters, except in cases where the quality of the
13 discharge complies with the applicable receiving water quality objectives, is prohibited.”
14         125. “Waste” is defined as, “waste substances, liquid, solid, gaseous, or
15 radioactive, associated with human habitation, or of human or animal origin, or from any
16 producing, manufacturing, or processing operation,” which includes discharges of
17 pollutants in storm water. California Water Code, § 13050(d).
18         126. Accordingly, where the “quality of the discharge” does not meet water
19 quality objectives, the discharge, absent an express “allowance for dilution” by the
20 Regional Board, is prohibited by Discharge Prohibition III.D of the 2015 and 2020 IGP.
21         127. Information available to Plaintiffs, including its review of publicly available
22 information and observations, indicates that no express allowance for dilution has been
23 granted to the Facility’s discharges or to the downstream Receiving Waters.
24         128. The Facility has discharged and continues to discharge numerous additional
25 pollutants in concentrations exceeding water quality objectives in violation of Discharge
26 Prohibition III.D.
27         129. Each time the Facility discharges polluted storm water or non-storm water in
28 violation of Sections III.B, III.C, and III.D of the Discharge Prohibitions provisions of the
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 1 IGP is a separate and distinct violation of the IGP and Section 301(a) of the Clean Water
 2 Act, 33 U.S.C. § 1311(a).
 3         130. These Discharge Prohibition violations are ongoing and will continue every
 4 time the Facility discharges polluted storm water and non-storm water without
 5 developing and/or implementing BMPs that prevent such discharges.
 6         131. The Facility has been in violation of these Discharge Prohibitions since at
 7 least January 9, 2019 and is subject to civil penalties for all violations of the Clean Water
 8 Act occurring since that time. See Ex. 1 (setting forth dates of all precipitation events
 9 during the past five years).
10               2. Discharges of Polluted Storm Water from the Facility Violate IGP
11                   Effluent Limitations.
12         132. Defendant has failed and continues to fail to develop and/or implement
13 BMPs as required to achieve compliance with the BAT/BCT standards to prevent the
14 discharge of polluted storm water from the Facility. See 2015 & 2020 Permits § V.A.
15         133. BMPs that would achieve BAT/BCT have not been developed and/or
16 implemented at the Facility.
17         134. Coastkeeper and CERF’s storm water monitoring data indicate that the
18 Facility’s storm water discharges exceed the EPA Benchmarks for zinc, TSS, copper,
19 aluminum, and N+N. For example, on February 1, 2024, the Facility discharged
20 concentrations of copper at 72 μg/L, over 12 times higher than the EPA Benchmark of
21 5.9 μg/L. See Ex. 1. Thus, sampling data collected indicates that the Facility has failed
22 and continues to fail to develop and/or implement BMPs that comply with the BAT/BCT
23 requirements.
24         135. As discharges containing pollutant concentrations that exceed EPA
25 Benchmarks indicate the Facility has not developed and/or implemented BMPs that meet
26 BAT/BCT requirements, the Facility has failed and continues to fail to develop and/or
27 implement BMPs that comply with the BAT/BCT requirements.
28         136. Visual observations and photographs of the Facility confirm that it lacks
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 1 BMPs that would achieve BAT/BCT. See, Ex. 1. For example, on February 1, 2024, a
 2 substantial number of rusty metal bars were stored outdoors, directly exposed to
 3 precipitation, lacking any shelter, covers, tarps, or other basic BMPs that would prevent
 4 pollutant exposure. Where few tarps were observed, they were haphazardly employed,
 5 such that significant industrial equipment and materials remained exposed to rain.
 6 Additionally, the significant number of workbenches and outdoor equipment suggests
 7 extensive outdoor industrial activity and a lack of preventative and/or cleanup measures.
 8 See Ex. 1.
 9         137. The Facility also failed to implement the BMPs listed in its own SWPPP.
10 The BMP Matrix lists covering the racks as a BMP, but the Facility failed to implement
11 this BMP during the observed rain event. See BMP Matrix. Additionally, the BMP
12 Matrix indicates that WCI will “deflect storm water run-off from work area,” yet on
13 February 1, 2024, there were no barriers or structures in place that suggested any
14 diversion or “deflection” of storm water away from the work area. The Facility’s failure
15 to implement many of its most basic BMPs during a recent rain event suggests the
16 Facility routinely fails to implement the BMPs identified in its SWPPP Matrix.
17         138. Such poor housekeeping and ineffective implementation of supposed BMPs
18 fail to constitute BAT/BCT and cast doubt regarding the efficacy of other BMPs
19 identified in the SWPPP. Thus, the Facility Owners and/or Operators have failed to
20 develop and implement BMPs that meet BAT/BCT requirements, in violation of the IGP.
21         139. Each time Defendant discharges polluted storm water in violation of
22 Effluent Limitation V.A of the 2015 and 2020 Permits is a separate and distinct violation
23 of the Storm Water Permit and Section 301(a) of the Clean Water Act, 33 U.S.C. §
24 1311(a).
25         140. These effluent limitation violations are ongoing and will continue every time
26 the Facility discharges polluted storm water and non-storm water without developing
27 and/or implementing BMPs that achieve compliance with the BAT/BCT standards.
28         141. The Facility has been in violation of these Effluent Limitations since at least
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 1 January 9, 2019 and is subject to civil penalties for all violations of the Clean Water Act
 2 occurring since that time.
 3                3. Discharges of Polluted Storm Water from the Facility Violate IGP
 4                   Receiving Water Limitations.
 5         142. The Facility has violated and continues to violate IGP Receiving Water
 6 Limitations.
 7         143. The Receiving Waters are impaired, and thus unable to support designated
 8 Beneficial Uses, for some of the same pollutants discharged by the Facility.
 9         144. Sweetwater River is impaired for nitrogen and phosphorus. Storm water
10 samples collected from the Facility on February 1, 2024 show concentrations of N+N at
11 1.9 mg/L, well over the Basin Plan objective of 1.0 mg/L for total nitrogen, and
12 phosphorus at 0.3 mg/L, also exceeding the Basin Plan objective of 0.1 mg/L. See Ex. 1.
13         145. Sweetwater River is also impaired for low dissolved oxygen. Excess
14 concentrations of nutrients such as nitrogen and phosphorus can reduce levels of
15 dissolved oxygen and cause hypoxia or harmful algal blooms that can create toxins. Such
16 toxins can move up the food chain. High nitrogen and phosphorus loading also results in
17 reduced spawning grounds and nursery habitats, fish kills, and public health concerns
18 related to impaired drinking water sources and increased exposure to toxic microbes. As
19 such, the Facility’s polluted discharges cause and/or contribute to Sweetwater River’s
20 dissolved oxygen, phosphorus, and nitrogen impairments.
21         146. The Sweetwater River is impaired for toxicity. Zinc and copper are highly
22 toxic pollutants in aquatic environments, and limitations on such toxic pollutants are
23 specifically enumerated in the CTR. The Facility’s discharges of these toxic metals in
24 excess of the CTR standards cause and/or contribute to the toxicity impairments of the
25 Sweetwater River. See Ex. 1.
26         147. The Sweetwater River is impaired for benthic community effects. The San
27 Diego Basin Plan mandates that “[w]aters shall not contain suspended and settleable
28 solids in concentrations of solids that cause nuisance or adversely affect beneficial uses.”
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 1 “Suspended and settleable solids are deleterious to benthic organisms and may cause the
 2 formation of anaerobic conditions. They can clog fish gills and interfere with respiration
 3 in aquatic fauna. They also screen out light, hindering photosynthesis and normal aquatic
 4 plant growth and development. As such, the Facility’s discharge of high levels of TSS
 5 cause and/or contribute to the benthic community effects impairment of the Sweetwater
 6 River. See Ex. 1.
 7         148. The Sweetwater River is also impaired for total dissolved solids (“TDS”).
 8 Iron, manganese, and nitrates can contribute to high TDS. As such, the Facility’s
 9 discharges of high concentrations of iron, manganese, and nitrates, in excess of the Basin
10 Plan objectives, causes and/or contributes to the TDS impairment of the Sweetwater
11 River. See Ex. 1.
12         149. The Basin Plan and CTR are applicable WQSs under the IGP.
13         150. Therefore, the Facility’s storm water discharges containing concentrations of
14 pollutants in excess of applicable WQSs, which cause and/or contribute to respective
15 impairments of Receiving Waters, violate the Receiving Water Limitations of the IGP.
16 2015 & 2020 Permits § VI.A.
17         151. Discharges of elevated concentrations of pollutants in the Facility’s storm
18 water also adversely impact human health. These harmful discharges from the Facility
19 are also violations of the IGP Receiving Water Limitations. See 2015 & 2020 Permits §
20 VI.B.
21         152. Each time Defendant discharges polluted storm water in violation of the
22 IGP’s Receiving Water Limitations is a separate and distinct violation of the IGP.
23         153. The Facility’s discharge violations are ongoing and will continue every time
24 contaminated storm water is discharged in violation of the IGP’s Receiving Water
25 Limitations.
26         154. The Facility has been in violation since January 9, 2019.
27 /././
28 /././
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 1                4. Defendant Has Violated and Continues to Violate IGP SWPPP
 2                    Requirements.
 3         155. Defendant has conducted and continues to conduct operations at the Facility
 4 with an inadequately developed and/or implemented SWPPP.
 5         156. The Facility is currently operating without a valid SWPPP.
 6         157. The Facility SWPPP and site map fail to accurately reflect on-the-ground
 7 site conditions.
 8         158. WCI has failed and continues to fail to develop and/or implement a SWPPP
 9 that contains BMPs to adequately prevent the exposure of pollutants to storm water, and
10 the subsequent discharge of pollutants from the Facility, in violation of the IGP.
11         159. WCI has failed and continues to fail to develop and/or implement a SWPPP
12 that contains BMPs to adequately prevent the exposure of pollutants to storm water, and
13 the subsequent discharge of pollutants from the Facility, in violation of the Industrial
14 General Permit. Generally, the SWPPP is practically nonexistent. It consists of two
15 pages, the first being a table of contents and the second, a bare chart. The SWPPP omits
16 or glosses over many required elements. The numerous violations described in this
17 Section are a non-exhaustive, illustrative list.
18         160. The SWPPP fails to note all industrial activities that occur onsite to
19 effectuate its metal work. The SWPPP only alludes to the following activities: vehicle
20 and equipment maintenance, painting, scrap metal as a production byproduct, metal
21 manipulation, loading and unloading, waste and material storage, dust-generating
22 activities, and equipment washing, without identifying where the activities occur or any
23 providing any narrative description. SWPPP at BMP Matrix. Further, for the dust-
24 generating activities, the SWPPP must designate and implement BMPs for the activity;
25 however, the SWPPP fails to identify the specific industrial activity that produces dust or
26 corresponding BMPs.
27         161. The enumerated industrial activities are not comprehensive. The SWPPP
28 fails to identify many metal working activities such as metal cutting, mitering, drilling,
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 1 punching, tooling, sawing, and scribing, as well as common industrial activities for such
 2 a Facility, like shipping and receiving various materials, waste disposal, or other common
 3 industrial activities. Id.
 4         162. The SWPPP fails to contain a list of all industrial materials on site and
 5 where the materials are stored, received, shipped, or handled. Id. For the few industrial
 6 materials named on the BMP Matrix, these industrial materials are inadequately
 7 described as the BMP Matrix excludes their type, characteristics, and approximate
 8 quantities. For example, WCI alters and manufactures steel beams or bars; however, the
 9 SWPPP and BMP Matrix neglect to make any mention of steel, much less the quantity or
10 form of the steel utilized at the Facility. With respect to equipment washing, the SWPPP
11 concedes washing occurs onsite but fails to identify the equipment washed or where it is
12 stored, cleaned, and maintained, or how equipment byproducts may be discarded. The
13 BMP Matrix fails to provide the requisite information for the industrial materials
14 accompanying the activities.
15         163. WCI uploaded a hazardous waste list. This list was not included in the
16 SWPPP, was not comprehensive, and is not a substitute for a SWPPP.
17         164. The SWPPP also fails to adequately analyze the pollutants associated with
18 the industrial activities and materials. For example, steel is a common industrial material
19 used at the WCI Facility. Steel contains many metals like iron, manganese, chromium,
20 nickel, titanium, and copper, and sometimes contains phosphorus. Nonetheless, the BMP
21 Matrix only acknowledges the presence of iron and copper. Id.
22         165. The SWPPP mentions the possibility of spills and leaks, yet the SWPPP
23 does not clarify whether any spills or leaks have occurred within the past five years and
24 associated details. Id. The SWPPP also does not list spill and leak prevention procedures
25 or what equipment may leak. Similarly, the Facility fails to denote any preventative
26 maintenance for the equipment on site. The SWPPP also states that the Facility has
27 erosion-vulnerable areas that may interact with storm water yet does not give an adequate
28 location description of these areas.
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 1         166. Because the Facility fails to list all the industrial activities and associated
 2 pollutants, the SWPPP likewise fails to identify and implement BMPs that account for
 3 those activities. Indeed, the SWPPP lacks an adequate BMP section. The SWPPP lists
 4 various BMPs in the BMP Matrix Table, but fails to identify BMP frequency, time of
 5 day, location where the BMP would be implemented, or condition that may trigger the
 6 BMP.
 7         167. Further, the SWPPP must identify the person responsible for executing the
 8 BMP and metrics for evaluating the efficacy of the BMP. Designating a responsible
 9 person helps to ensure that the BMPs are implemented.
10         168. The Facility site map remains woefully defective, failing to acknowledge
11 substantial outdoor storage, including but not limited to rusty beams and pipes, outdoor
12 tools, ladders, and workbenches that hold rusty beams. See Ex. 1. The map fails to
13 identify the waste disposal areas, the drainage flow, all discharge and sampling locations,
14 shipping and receiving areas, fueling locations, all covered and uncovered storage areas,
15 wash-down areas for equipment, material handling locations, and areas of dust-generating
16 activity. The map also must dictate the location of storm drain inlets but fails to do so.
17 For example, the Facility has a drain adjacent to the driveway that is not indicated on the
18 map.
19         169. The Facility also fails to indicate the Receiving Water in the SWPPP.
20 Indeed, the NOI leaves that line blank and the SWPPP likewise fails to mention the
21 Receiving Waters.
22         170. The Facility Owners and/or Operators have also failed to revise the
23 Facility’s SWPPP to ensure compliance with the IGP. Any significant revisions to the
24 SWPPP must be maintained onsite and uploaded to SMARTS within thirty days of the
25 revision. Despite the significant concentrations of pollutants in the Facility’s storm water
26 discharges, and the copious amounts of outdoor storage, information available to
27 Coastkeeper and CERF indicates the Facility SWPPP has remained virtually the same
28 since at least its initial upload in 2015 and is dated August 2003, and has not been revised
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 1 to include additional BMPs to eliminate or reduce pollutants in the Facility’s storm water
 2 discharges, as required by the Permit.
 3         171. Defendant has operated the Facility since at least January 9, 2019 without a
 4 valid SWPPP. Every day the Facility operates with an inadequately developed and/or
 5 implemented SWPPP, and/or with an improperly revised SWPPP is a separate and
 6 distinct violation of the IGP and the Clean Water Act. Defendant has been in daily and
 7 continuous violation of the IGP’s SWPPP requirements since at least January 9, 2019.
 8         172. These violations are ongoing, and Defendant is subject to civil penalties for
 9 all violations of the Clean Water Act occurring since that time.
10                5. Defendant Has Failed to Develop, Implement, and/or Revise an
11                   Adequate Monitoring Implementation Plan at the Facility.
12         173. Defendant has conducted and continues to conduct operations at the Facility
13 with an inadequately developed, implemented, and/or revised MIP.
14         174. The Facility Owners and/or Operators have failed and continue to fail to
15 develop and/or implement a MIP that provides for the collection of storm water samples
16 “from each drainage area at all discharge locations” at the Facility in violation of IGP.
17         175. The Facility Owners and/or Operators have failed and continue to fail to
18 sample and analyze storm water discharges for all parameters required by the Industrial
19 General Permit. Facilities with the SIC code 34XX, like WCI, are required to sample for
20 zinc, N+N, iron, and aluminum, in addition to the parameters required for all facilities
21 (TSS, oil and grease, and pH). Further, the SWPPP also enumerates lead and copper as
22 potential pollutants, and thus the IGP requires the Facility to also sample for those
23 parameters.
24         176. Coastkeeper and CERF’s storm water sampling found high concentrations of
25 manganese and phosphorus in excess of water quality standards. These pollutants stem
26 from the Facility’s many outdoor industrial activities. WCI’s failure to include these
27 parameters in the Facility’s MIP is an ongoing violation of the Permit.
28         177. The Facility Owners and/or Operators have failed and continue to fail to
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 1 collect the required number of storm water samples for each reporting period. The IGP
 2 requires Facilities to collect four samples each reporting period. However, since at least
 3 2019, the Facility has not collected the required number of storm water samples. See Ex.
 4 1, Table 1. WCI’s failure to collect the required number of storm water samples during
 5 each reporting period has resulted in numerous ongoing and continuous violations of the
 6 IGP.
 7         178. Further, the Facility always uploads its (incomplete) sampling data reports
 8 just before the Annual Report is due. However, the IGP requires the Facility to upload the
 9 reports within 30 days of obtaining the results.
10         179. On information and belief, the Facility has failed to collect storm water
11 samples and obtain data that accurately reflects the quality of the discharge.
12         180. The IGP requires dischargers to conduct visual observations of storm water
13 discharges, of authorized and unauthorized NSWDs, and of BMPs. On information and
14 belief, including the Facility’s repeated violations of Discharge Prohibitions and Effluent
15 Limitations, the Facility Owners and/or Operators fail to consistently, and/or adequately,
16 conduct the required discharge observations and monitoring of BMPs.
17         181. Every day the Facility operates with an inadequately developed and/or
18 implemented MIP, or with an improperly revised MIP is a separate and distinct violation
19 of the IGP and the Clean Water Act.
20         182. Defendant has been in daily and continuous violation of the IGP’s MIP
21 requirements since at least January 9, 2019.
22         183. These violations are ongoing, and Defendant is subject to civil penalties for
23 all violations of the IGP and Clean Water Act occurring since at least January 9, 2019.
24                6. Defendant Has Violated the IGP’s Reporting Requirements.
25         184. Defendant has failed and continues to fail to submit Annual Reports that
26 comply with the IGP reporting requirements.
27         185. The Facility Owners and/or Operators have submitted multiple annual
28 reports that were certified attesting to the Facility’s compliance with the terms of the IGP.
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 1 However, information available to Coastkeeper and CERF indicates that these
 2 certifications are erroneous.
 3           186. The Facility has and continues to violate numerous provisions of the IGP.
 4 The Facility’s Legally Responsible Person (LRP) knew or should have known the
 5 Facility failed to comply with numerous procedural and substantive provisions of the
 6 IGP, and thus certifications of these annual reports were erroneous.
 7           187. In each Annual Report, the Facility Owner and/or Operator certifies that: (1)
 8 a complete Annual Comprehensive Site Compliance Evaluation was conducted as
 9 required by the IGP; (2) the SWPPP’s BMPs address existing potential pollutant sources;
10 and (3) the SWPPP complies with the IGP, or will otherwise be revised to achieve
11 compliance. “Clean Water Act section 309(c)(4) provides that any person that knowingly
12 makes any false material statement, representation, or certification in any record or other
13 document submitted or required to be maintained under this IGP, including reports of
14 compliance or noncompliance shall upon conviction, be punished by a fine of not more
15 than $10,000 or by imprisonment for not more than two years or by both.” 2015 & 2020
16 Permits § XXI.N.
17           188. Every day Defendant conducts operations at the Facility without reporting as
18 required by the IGP is a separate and distinct violation of the IGP and Section 301(a) of
19 the Clean Water Act, 33 U.S.C. § 1311(a).
20           189. Defendant has been in daily and continuous violation of the IGP’s reporting
21 requirements every day since at least January 9, 2019.
22           190. These violations are ongoing, and Defendant is subject to civil penalties for
23 all violations of the Clean Water Act occurring since January 9, 2019.
24     VI.   CLAIMS FOR RELIEF
25                             FIRST CAUSE OF ACTION
        Discharges of Contaminated Storm Water in Violation of the IGP’s Discharge
26                         Prohibitions and the Clean Water Act.
27                        33 U.S.C. §§ 1311(a), 1342, 1365(a), and 1365(f)
28           191. Plaintiffs incorporate the allegations contained in the above paragraphs as
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 1 though fully set forth herein.
 2         192. Defendant has discharged and continues to discharge unauthorized non-
 3 storm water discharges in violation of discharge prohibition III.B of the 2015 and 2020
 4 Permits.
 5         193. Defendant has discharged and continues to discharge numerous pollutants in
 6 concentrations that cause or threaten to cause pollution, contamination, or nuisance in and
 7 around Receiving Waters in violation of Section III.C of the IGP.
 8         194. Defendant has discharged and continues to discharge numerous pollutants in
 9 excess of water quality objectives listed in the Basin Plan in violation of Section III.D of
10 the IGP.
11         195. The Basin Plan states: “[t]he discharge of waste to inland surface waters,
12 except in cases where the quality of the discharge complies with applicable receiving
13 water quality objectives, is prohibited.” Basin Plan, p. 4-30.
14         196. The Regional Board has not made an allowance for dilution of WCI’s storm
15 water discharges.
16         197. “Where consideration of a dilution allowance or mixing zone is not
17 permitted by the water quality standards or is not appropriate, the relevant water quality
18 criterion must be attained at the point of discharge.” U.S. EPA’s NPDES Permit Writer
19 Manual § 6.2.3.
20         198. Accordingly, where the “quality of the discharge” does not meet water
21 quality objectives, the discharge, absent an express “allowance for dilution” by the
22 Regional Board, is prohibited.
23         199. Chapter 3 of the Basin Plan confirms the CTR is a “water quality criteria”
24 that applies to California inland surface waters, enclosed bays, and estuaries. Basin Plan
25 at 3-34, 3-35.
26         200. The CTR sets forth continuous and maximum levels for numerous toxic
27 pollutants, in both freshwater and saltwater environments. See 40 C.F.R. § 131.38.
28         201. In adopting the CTR, the EPA expressly directed that “[a]ll waters
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 1 (including lakes, estuaries and marine waters) . . . are subject to the Criteria promulgated
 2 today. Such criteria will need to be attained at the end of the discharge pipe, unless
 3 the State authorizes a mixing zone.” (Emphasis added) (65 FR 31682-01).
 4         202. The EPA further directed that “[t]hese Federal Criteria are legally applicable
 5 in California . . . for all purposes and programs under the Clean Water Act.” Id.
 6         203. Defendant has been in violation of the IGP Discharge Prohibitions at the
 7 Facility every day from at least January 9, 2019 to the present. Defendant’s violations of
 8 the IGP Discharge Prohibitions are ongoing and continuous.
 9         204. Each and every violation of the IGP Discharge Prohibitions is a separate and
10 distinct violation of Section 301(a) of the CWA, 33 U.S.C. § 1311(a). By committing the
11 acts and omissions alleged above, Defendant is subject to an assessment of civil penalties
12 for each and every violation of the CWA occurring from January 9, 2019 to the present
13 pursuant to Sections 309(d) and 505 of the CWA, 33 U.S.C. §§ 1319(d), 1365, and 40
14 C.F.R. § 19.4.
15                            SECOND CAUSE OF ACTION
         Discharges of Contaminated Storm Water in Violation of the IGP’s Effluent
16                         Limitations and the Clean Water Act.
17                      33 U.S.C. §§ 1311(a), 1342, 1365(a), and 1365(f)
18         205. Plaintiffs incorporate the allegations contained in the above paragraphs as
19 though fully set forth herein.
20         206. Defendant failed and continues to fail to reduce or prevent pollutants
21 associated with industrial activities from discharging through implementation of BMPs
22 that achieve BAT/BCT at the Facility.
23         207. Discharges of storm water containing levels of pollutants that do not achieve
24 compliance with BAT/BCT standards occur every time storm water discharges from the
25 Facility.
26         208. Defendant’s failure to develop and/or implement BMPs that achieve the
27 pollutant discharge reductions attainable via BAT or BCT at the Facility is a violation of
28 the IGP and the CWA. See 2015 & 2020 Permits § V.A; see also 33 U.S.C. § 1311(b).
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 1         209. Defendant violated and continues to violate the IGP Effluent Limitations
 2 each time storm water containing levels of pollutants that do not achieve BAT/BCT
 3 standards discharge from the Facility.
 4         210. Defendant has been in violation of the IGP Effluent Limitations at the
 5 Facility every day from at least January 9, 2019 to the present. Defendant’s violations of
 6 the IGP Effluent Limitations and the CWA are ongoing and continuous. Defendant will
 7 continue to be in violation of the IGP and the CWA each day it fails to adequately
 8 develop and/or implement BMPs to achieve BAT/BCT at the Facility.
 9         211. Each day that Defendant operates the Facility without adequately developing
10 and/or implementing BMPs that achieve BAT/BCT in violation of the IGP is a separate
11 and distinct violation of Section 301(a) of the CWA, 33 U.S.C. § 1311(a).
12         212. Each day that Defendant operates the Facility without adequately developing
13 and/or implementing BMPs that comply with Effluent Limitations in violation of the IGP
14 is a separate and distinct violation of Section 301(a) of the CWA, 33 U.S.C. § 1311(a).
15 By committing the acts and omissions alleged above, Defendant is subject to civil
16 penalties for each and every violation of the CWA occurring since January 9, 2019. 33
17 U.S.C. §§ 1319(d), 1365, and 40 C.F.R. § 19.4.
18                             THIRD CAUSE OF ACTION
       Discharges of Contaminated Storm Water in of Unfair Competition Law,
19                           Cal. Bus. & Prof. Code §17200.
20         213. Plaintiffs incorporate the allegations contained in the above paragraphs as
21 though fully set forth herein.
22         214. The Facility discharges storm water containing levels of pollutants that
23 adversely impact human health and/or the environment.
24         215. Defendant discharges storm water containing levels of pollutants that cause
25 or contribute to exceedances of WQSs from the Facility.
26         216. Discharges of storm water containing levels of pollutants that adversely
27 impact human health and/or the environment occur each time storm water discharges
28 from the Facility.
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 1         217. Discharges of storm water containing levels of pollutants that cause or
 2 contribute to exceedances of WQSs occur each time storm water discharges from the
 3 Facility.
 4         218. In addition to being waters of the United States, the Receiving Waters are
 5 waters of the State of California.
 6         219. Defendant’s discharges of storm water containing levels of pollutants that
 7 adversely impact human health and/or the environment, and/or that cause or contribute to
 8 exceedances of WQSs, are violations of the Porter-Cologne Water Quality Control Act
 9 (“Porter-Cologne Act”). Cal. Water Code §§ 13350(a), 13263(a).
10         220. Defendant’s violations of the Porter-Cologne Act and the General Permit
11 each constitute unlawful conduct under Cal. Business and Professions Code Section
12 17200.
13         221. Defendant violated and will continue to violate the IGP Receiving Water
14 Limitations every time storm water containing levels of pollutants that adversely impact
15 human health or the environment, or that cause or contribute to exceedances of WQSs,
16 discharge from the Facility.
17         222. Defendant has been in violation of the IGP Receiving Water Limitations at
18 the Facility every day from January 9, 2020 to the present. Defendant’s violations of the
19 IGP Receiving Water Limitations and the Portor-Cologne Act are ongoing and
20 continuous.
21         223. Defendant will continue to be in violation of the IGP and the Porter-Cologne
22 Act each time storm water containing levels of pollutants that adversely impact human
23 health or the environment, or that causes or contributes to exceedances of WQSs is
24 discharged from the Facility.
25         224. Each day that Defendant has discharged and/or continues to discharge
26 polluted storm water from the Facility in violation of the IGP is a separate and distinct
27 violation of Cal. Business and Professions Code Section 17200.
28         225. Defendant is a person under Cal. Bus. & Prof. Code § 17201.
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 1         226. Plaintiffs and their members have been and will continue to suffer injury and
 2 harm as a result of Defendant’s unlawful conduct. Plaintiffs have suffered injury in fact
 3 and monetary harm because they have dedicated resources to investigating and stopping
 4 Defendant’s conduct that would not have been necessary but for Defendant’s illegal
 5 actions and which could have been used on other matters.
 6         227. For example, on February 1, 2024, Plaintiffs diverted staff resources to
 7 obtain a sample of the Facility’s storm water discharge and paid $441.25 to a certified lab
 8 to examine the sample for the presence of pollutants.
 9         228. Defendant’s ongoing pollution of heavy metals and other pollutants into the
10 Receiving Waters frustrates Plaintiffs’ mission.
11         229. This Court has jurisdiction to enjoin Defendant’s unlawful conduct that
12 violates Cal. Water Code § 13350(a), 13263(a) under Business and Professions Code
13 Section 17203.
14                            FOURTH CAUSE OF ACTION
15    Failure to Adequately Develop, Implement, and/or Revise the Facility’s Storm
     Water Pollution Prevention Plans in Violation of the IGP and the Clean Water Act.
16                    33 U.S.C. §§ 1311(a), 1342, 1365(a), and 1365(f)
17         230. Plaintiffs incorporate the allegations contained in the above paragraphs as
18 though fully set forth herein.
19         231. Defendant has failed and continues to fail to develop and/or implement an
20 adequate SWPPP for the Facility.
21         232. Defendant has failed and continues to fail to adequately revise the SWPPP
22 for the Facility.
23         233. Defendant conducts operations at the Facility each day without an
24 adequately developed, implemented, and/or revised SWPPP. Defendant’s failure to
25 adequately develop, implement, and/or revise SWPPPs for the Facility is a violation of
26 the IGP and the Clean Water Act. See 2015 & 2020 Permits § X; see also 33 U.S.C. §
27 1311(b).
28         234. Defendant has been in violation of the IGP SWPPP requirements at the
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 1 Facility every day from at least January 9, 2019, to the present. Defendant’s violations of
 2 the IGP SWPPP requirements and the CWA at the Facility are ongoing and continuous.
 3         235. Defendant will continue to be in violation of the IGP and the CWA each day
 4 it fails to adequately develop, implement, and revise the Facility SWPPP.
 5         236. Each day Defendant operates the Facility without developing and/or
 6 implementing an adequate SWPPP is a separate and distinct violation of Section 301(a)
 7 of the CWA 33 U.S.C. §1311(a). By committing the acts and omissions alleged above,
 8 Defendant is subject to civil penalties for each and every violation of the CWA occurring
 9 since January 9, 2019. 33 U.S.C. §§ 1319(d), 1365, and 40 C.F.R. § 19.4.
10                              FIFTH CAUSE OF ACTION
       Failure to Adequately Develop, Implement, and Revise Adequate Monitoring
11        Implementation Plan in Violation of the IGP and the Clean Water Act.
12                    33 U.S.C. §§ 1311(a), 1342, 1365(a), and 1365(f)
13         237. Plaintiffs incorporate the allegations contained in the above paragraphs as
14 though fully set forth herein.
15         238. Defendant has failed and continues to fail to develop and/or implement an
16 adequate MIP for the Facility. Defendant operates the Facility each day without an
17 adequately developed, implemented, and/or revised MIP.
18         239. Defendant’s failure to adequately develop, implement, and/or revise the MIP
19 for the Facility is a violation of the IGP and the Clean Water Act. See 2015 & 2020
20 Permits § XI; see also 33 U.S.C. § 1311(b).
21         240. Defendant has been in violation of the IGP MIP requirements every day
22 from at least January 9, 2019, to the present. Defendant’s violations of the IGP MIP
23 requirements and the CWA at the Facility are ongoing and continuous.
24         241. Defendant will continue to be in violation of the IGP and the CWA each and
25 every day it fails to adequately develop, implement, and/or revise the Facility MIP.
26         242. Each day that Defendant operates the Facility without developing,
27 implementing, and/or revising an adequate MIP is a separate and distinct violation of
28 Section 301(a) of the CWA, 33 U.S.C. § 1311(a). By committing the acts and omissions
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 1 alleged above, Defendant is subject to an assessment of civil penalties for each and every
 2 violation of the CWA occurring since January 9, 2019. 33 U.S.C. §§ 1319(d), 1365, and
 3 40 C.F.R. § 19.4.
 4                                  SIXTH CAUSE OF ACTION
 5                    Failure to Properly Monitor in Violation of the IGP.
 6                      33 U.S.C. §§ 1311(a), 1342, 1365(a), and 1365(f)
 7         243. Plaintiffs incorporate the allegations contained in the above paragraphs as
 8 though fully set forth herein.
 9         244. Defendant has failed and continues to fail to conduct the requisite visual
10 observations of storm water discharges at the Facility in violation of the IGP and the
11 CWA. See 2015 & 2020 Permits § XI.A; see also 33 U.S.C. § 1311(b).
12         245. Defendant has failed and continues to fail to collect and analyze the required
13 number of storm water samples at the Facility in violation of the IGP and the CWA. 2015
14 Permit & 2020 Permits §§ XI.B.13; 33 U.S.C. § 1311(b).
15         246. Defendant has failed and continues to fail to analyze all collected samples
16 for all required parameters in violation of the IGP and the CWA. See 2015 & 2020
17 Permits § XI.B.6; see also 33 U.S.C. § 1311(b).
18         247. Defendant has failed and continues to fail to upload its monitoring reports
19 late in violation of the IGP and CWA. 2015 & 2020 Permits § XI.B.11.a.
20         248. Defendant has failed and continues to fail to comply with the IGP’s
21 monitoring requirements at the Facility since at least January 9, 2019. Defendant’s
22 violations of the IGP monitoring requirements and the Clean Water Act are ongoing and
23 continuous.
24         249. Defendant will continue to be in violation of the IGP and the CWA each and
25 every day it fails to comply with the IGP’s monitoring requirements.
26         250. Each and every violation of the IGP’s monitoring requirements is a separate
27 and distinct violation of Section 301(a) of the CWA, 33 U.S.C. § 1311(a). By committing
28 the acts and omissions alleged above, Defendant is subject to an assessment of civil
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 1 penalties for each and every violation of the CWA occurring since January 9, 2019. 33
 2 U.S.C. §§ 1319(d), 1365, and 40 C.F.R. § 19.4.
 3                                 SEVENTH CAUSE OF ACTION
 4      Failure to Report as Required in Violation of the IGP and the Clean Water Act.
 5                          33 U.S.C. §§ 1311(a), 1342, 1365(a), and 1365(f)
 6            251. Plaintiffs incorporate the allegations contained in the above paragraphs as
 7 though fully set forth herein.
 8            252. Defendant has failed and continues to fail to submit accurate and/or
 9 complete Annual Reports for the Facility.
10            253. Defendant’s failure to submit complete and accurate Annual Reports is a
11 violation of the IGP and the Clean Water Act. See 2015 & 2020 Permits § XVI; see also
12 33 U.S.C. § 1311(b).
13            254. Defendant conducts operations at the Facility each day without reporting as
14 required by the IGP. Defendant has been in violation of the IGP’s reporting requirements
15 every day since at least January 9, 2019. Defendant’s violations of the reporting
16 requirements of the IGP and the CWA are ongoing and continuous.
17            255. Defendant will continue to be in violation of the IGP and the CWA each and
18 every day it fails to comply with the IGP reporting requirements at the Facility.
19            256. Each and every violation of the IGP reporting requirements is a separate and
20 distinct violation of Section 301(a) of the CWA, 33 U.S.C. § 1311(a). By committing the
21 acts and omissions alleged above, Defendant is subject to an assessment of civil penalties
22 for each and every violation of the CWA occurring since January 9, 2019. 33 U.S.C. §§
23 1319(d), 1365, and 40 C.F.R. § 19.4.
24     VII.        RELIEF REQUESTED
25            257. Plaintiffs respectfully request that this Court grant the following relief:
26            a.     A court order declaring the Defendant has violated and continues to be in
27 violation of Sections 13263(a) and 13350(a) of the Porter-Cologne Act, Sections 301(a)
28 and (b) of the Clean Water Act, 33 U.S.C. §§ 1311(a) and (b), for discharging pollutants
     COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND CIVIL PENALTIES                         40
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 1 from the Facility in violation of a permit issued pursuant to Section 402(p) of the CWA,
 2 33 U.S.C. § 1342(p), for failing to comply with discharge prohibitions, effluent
 3 limitations which include BAT/BCT requirements, and for failing to comply with the
 4 other substantive and procedural requirements of the IGP as set forth within this
 5 Complaint;
 6         b.    A court order enjoining Defendant from discharging pollutants from the
 7 Facility to surface waters in violation of the Clean Water Act, Porter-Cologne Act, and
 8 IGP;
 9         c.    A court order requiring Defendant to implement affirmative injunctive
10 measures designed to eliminate Defendant’s violations of the substantive and procedural
11 requirements of the IGP, Porter-Cologne Act, and the Clean Water Act;
12         d.    A court order assessing civil monetary penalties for each violation of the
13 CWA at $68,445 per day per violation for violations that occurred after November 2,
14 2015 and assessed on or after January 9, 2025; 33 U.S.C. § 1319(d); 40 C.F.R. § 19.4.
15         e.    A court order awarding Plaintiffs their reasonable costs of suit, including
16 attorney, witness, expert, and consultant fees, as permitted by Section 505(d) of the Clean
17 Water Act, 33 U.S.C. § 1365(d); and
18         f.    Any other relief as this Court may deem appropriate.
19 Dated: April 14, 2025
20                                                Respectfully submitted,
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     COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND CIVIL PENALTIES                       41
